      Case 1:17-cr-00618-RA Document 325 Filed 10/21/20 Page 1 of 2




                                                                   USDC-SDNY
                                                                   DOCUMENT
                                                                   ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT                                       DOC#:
SOUTHERN DISTRICT OF NEW YORK                                      DATE FILED: 10/21/2020


 UNITED STATES OF AMERICA,
                                                                No. 17-CR-618 (RA)
                        v.
                                                                       ORDER
 ESTEBAN AYALA,

                             Defendant.


RONNIE ABRAMS, United States District Judge:

       On June 26, 2020, the Court received Defendant Esteban Ayala’s pro se letter,

dated June 11, 2020, requesting that the Court “‘[m]odify [his] sentencing in such a manner

that would allow [him] to serve the remainder of [his] sentence on home confinement,” and

issued an order construing that letter as a motion for a sentence reduction pursuant to

18 U.S.C. § 3582(c)(1)(A), seeking compassionate release in light of COVID-19. Dkt.

304. On September 16, 2020, the Court received a letter from Mr. Ayala, dated August 26,

2020, which stated that he was to be released to the Bronx Halfway House on September

2, 2020, and expressed that “[t]o invest time and energy going back and forth with word

semantics is counter productive to [his] getting ready to be a productive citizen.” On

September 18, 2020, the Court issued an order directing Mr. Ayala to advise the Court if

he wishes to continue to pursue this motion, which the Court was inclined to consider as

moot in light of Mr. Ayala’s transfer to a residential reentry center and the representations

made in his letter of August 26, 2020.
      Case 1:17-cr-00618-RA Document 325 Filed 10/21/20 Page 2 of 2




         To date, Mr. Ayala has not submitted any response to the Court’s September 18

order. No later than November 4, 2020, Mr. Ayala shall file a response to the Court if he

wishes to continue to pursue this motion. If Mr. Ayala does not file a response

indicating his intent to pursue this motion by November 4, 2020, the Court will

dismiss the motion. Although Mr. Ayala's failure to respond will not render the motion

moot as a legal matter, the Court will consider it, together with his prior letter, to

constitute a withdrawal of the motion.

         The Government is respectfully directed to promptly serve a copy of this Order on

Mr. Ayala and file proof of such service on the docket.



SO ORDERED.

Dated:      October 21, 2020
            New York, New York

                                                    Ronnie Abrams
                                                    United States District Judge




                                               2
